Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 1 of 40 Pageid#:
                                   1795




                        EXHIBIT 9
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 2 of 40 Pageid#:
                                   1796
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 3 of 40 Pageid#:
                                   1797
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 4 of 40 Pageid#:
                                   1798
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 5 of 40 Pageid#:
                                   1799
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 6 of 40 Pageid#:
                                   1800

                                          UNITED STATES MARINE CORPS
                                            MARINE RAIDER SUPPORT GROUP
                                      MARINE CORPS SPECIAL OPERATIONS COMMAND
                                                    PSC BOX 20117
                                              CAMP LEJEUNE NC 28542-0117


                                                                                                          5800
                                                                                                          JKM

  From: Major Joshua K. Mast, USMC 1395425095/USMC
  To: Commanding Officer, Marine Raider Support Group

  Ref:   (a) JAGINST 5800.7F (JAGMAN)

  Encl: (I) NAVMC 3 of 23 August 202 l(Leave Authorization)
        (2) Screen Grab of Marine Online Historical Leave Requests for Major Joshua K. Mast

  Subj: REQUEST FOR AN ADMINISTRATIVE INVESTIGATION INTO CAPACITY ON OR ABOUT 29
        AUGUST 2021

  I. Pursuant to the reference, request an Investigating Officer be appointed to conduct a Command Investigation into my
  capacity on or about 29 August 2021. This administrative determination by my Command is a pre-liminary question that
  has not been examined to date. Uncertainty regarding this status has significant impact on my service and family, and I
  request this uncertainty be rectified by a formal administrative determination as soon as possible.

  2. Specifically, request the IO be directed to make appropriate findings and recommendations to include: Investigate the
  facts and circumstances and make findings of facts and recommendations as to whether Major Mast was in an official or
  unofficial capacity on Sunday, 29 August, 2021. These findings should include findings and recommendations that
  address any applicable leave or liberty periods, and any other relevant factors in evaluating what capacity he was in
  during the relevant period.

  3. I am the point of contact for this matter and can be reached at joshua.k.mast.mil@socom.mil or 407-797-9359.
                                                                             l        b
                                                 MAST.JOSHUA.KEN        ���� ��i��� �ENNETH 13954
                                                 NETH .1395425095       �!�!\o22 oa.03 12:54 5s .04•00·

                                                                  J. K. MAST




                                                                                                                 Enclosure (2)
           Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 7 of 40 Pageid#:
                                              1801
LEAVE AUTHORIZATION (OFFICER AND ENLISTED) (1500)                                                                                    BEFORE SIGNING LEAVE REQUEST,
NAVMC 3 (REV. 03·11) (EF) (Previous editions w ll not be used)                                                                      READ INSTRUCTIONS ON PAGE 2 AND
FOUO - Privacy sens tive when filled in.                                                                                            PRIVACY ACT STATEMENT ON PAGE 3


  1. TO:         COMMAND NG OFFICER:


                                                                                  LEAVE REQUEST
  2. FROM (Name, Grade, EDIPI, MOS)         MAJ                      1 3 954 25095           3. ORGANIZATION AND.DUTY TELEPHONE NUMBER
                                                                                                         HQTRS MARFORSOC

  JOSHUA K. MAST                                                                           4402
                                                                                                                                '
 4. NUMBER OF DAYS REQUE STED ANO INCLUSIVE DATES                                                        5. DATE & TIME LEAVE EFFECTIVE                 6. DATE & T ME LEAVE EXPIRES
 (6) 24 Aug 2021- 29 Aug 2021                                                                            23Aug 2021, 1630                              1 30Aug 2021, 0800
                                                                                                            ,
 7. TYPE OF LEAVE REQUESTED                            8. NO. OF DAYS TAKEN THIS FISCAL YEA�;'.- ,.                    9. L EAVE B.l\LANCE                       10. ECC
                                                      1 23 0                                    .                               -.
  Annual Leave                                                                                   ....                 23.0

 11. ADDRESS WHILE ON LEAVE ( nc ude telephone number and area code. Ifany change notify your               12. SIGNATURE OF PERSON REQUEST NG LEAVE ANO DATE : I will wear
                                                                                                                       {• ,..



 command ng officer)                                                                                       my seatbelt whi e driv ng or riding in a PMV whi e n an authorized leave status
                                                                                                         , (paragraph 14(d)of MCO 51 00.19(E).
 A Udeid Air Base, Qatar;
 Ramsteain Air Base, German
 "·Deviation Is authorized".. , bE
 4 0 7797-9359

            "EVERY MARINE RECRUIT A MARINE" MARINE CORPS ORDER 1050.1 AUTHORIZES AS-DAY LEAVE EXTENSION OR SPECIAL LIBERTY CHIT TO
            MARINES ON LEAVE WHO RECRUIT AN ACCEPTABLE APPLICANT FOR ENLISTMENT
                                                                           .     IN THE MARINE CORPS OR MAR NE CORPS RESERVE. CON•
                                            TACT THE MARINE CORPS �ECRUITER NEAREST YOU FOR DETAILS.

                                                 APPROVAL OF IMMEDIATE SUPERIOR/COMPANY COMMANDER
  13. EJ APPROVED                    REMARKS (If disapproved)     �:                         SIGNATURE ANO GRADE




  14.
        □
        □
            DISAPPROVED

                                     REMARKS (if d sapproved)
                                                                                      ..            ..

            APPROVED                                                                                                                   SIGNATURE ANO GRADE


        □   DISAPPROVED

  15. SIGNATURE (Officer authorized to grant leave)                               16. GRADE AND COMPONENT                       17. TITLE
  Dig tally Signed/Approved by                                                                                                  BY DIRECTION
                                                                     ·      '
                                                                     MCTFS REPORTING INFORMATION


                                     1630                  23 Aug 2021                                                                    0800                   30Aug 2021
   18. Hour and date of departure                                                                 19. Hour and date of return



                             (Signature of Duly Officer/NCO/lndlv)                                                                    (Signature ofDuty Off1eer/NCO/lndiv.)

  20. EXTENSIONS
                      Granted                days extension of.leave. Your leave will now expire at                                         on       ---- -

                 (Signature of Granting Officer)                                                                  (Unit)                                                         (Dale)

                                                                                21. HOSPITALIZATION
 NAME AND ADDRESS OF HOSPITAL                                                                                      TIME AND DATE ADM TTED                     TIME AND DATE RELEASED



 REMARKS /DIAGNOSIS ••




                                                                                                  (signature ol Phys1c1an}                                                    (Date}

                                                         22, UNI T DIARY COMPUTATION - INCLUSIV E DATES

 NO.OF DAYS CHARGED AS LEAVE                                         FROM                                                  THRU

 UNIT DIARY NO.                                           UTR N O                      __                _
                                                                                                                                                    ENCLOSURE (1)
                                                                                     FOR OFFICIAL USE ONLY
                                                                                                                                                        Page 1 of 3
                                                                                                                                                                       Adobe UveCycle Designer
                                                                                                                                                               Enclosure (2}
         Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 8 of 40 Pageid#:
                                            1802
NAVMC 3 ( REV. 03-11) (EF), Page 2
FOUO - Privacy sensitive when filled in.

     I, _            _                                              {Rank, Fu ll Name), recognize the contribution I make to my fellow Marines,
             __                ____            ___
     Sa lors, and Civilian Marines of
          i                                                                                                           {unit name), my brothers and
     sisters throughout the Marine Corps, and the Marines and Sa lors deployed in defense of freedom around the world. Essentials to our mission, I
     pledge to maintain my commitment with a constant display of honor and professionalism. I will p an ahead, minimize risks to my safety and
     return from leave prepared to continue "the fight."

                                                                                        (Signature ofMarine)


     Authored by:




     I,
            __________________________ {Rank, Full Name), have confirmed that
                                                                           (the requesting Mar ne) has ari acceptable plan for leave and fully understands the
         _.,...,.._
                  __""""_- _    _ ""_,....__ __      _. -    _ _ -   -
                                                                   ,....
     v-
      a.,..
        luable con bu..,.
                      tritio-
                            n every   Marine m a..,.kes.,.-
                                  .....,.               to o ur nat on   . I am confident that he/she will take the',r,ecessary steps to m nim ze risks and bring
                                                                         -                                                                           i   i


     honor to our Corps and country while enjoying this well deserved break from the daily routine. I recommend approval.



                                                                           I                        (S/J}nature of fl;st Marine In approval chain)
                                                                                                                                                                    I
                                                                               INSTRUCTIONS



 1. Leave is granted subject to immediate recall; therefore, ma nta n communications with your leave address. KEEP THESE LEAVE PAPERS IN YOUR
                                                                       i
                                                                     '               •
 POSSESSION AT ALL TIMES.

 2. It is understood you have sufficient funds to defray your expenses no leave, incl uding round-trp transportation. Each case of transportation obtained
 from recruiting stations, or other Marine Corps actv t es, by personne on leave, will be investigated and where no urgent necessity was apparent In
 app ying for transportaton request, disciplinary action may be taken.

 3. You are cautioned aga nst the disclosure of any c assified information. Wh le t is desirable to tell the public about the Marine Corps, do not discuss any
                                        i                                               i   i

 subject unless you are certain it Is unc assified. In case you are asked to part c pate in a press conference, talk to reporters or speak through any other
 media on matters perta n ng to the Naval Servce, you should express a desire to cooperate, but should first consult with and obtain clearance from the
                                i   i

 nearest Marine Corps public information officer if at all practicable.  ••

 4. Inform yourself of transportat on schedules, and make allowances for de lays. M ssing connections Is not an excuse for UNAUTHORIZED ABSENCE.
 Train, bus, and p ane schedu les and connections are frequenty unreliable.

 5. Cooperate with shore patrol and military police at all times. Military police, shore patro ls. air pol ce, officers, petty officers, and noncommissioned
 officers of the Armed Forces are authorized to· take preventive measures, including apprehension, if necessary in the case of any member of the Armed
 Forces who is guilty of committing a breach of the peace, disorderly conduct. or any other offense which reflects discredit upon the services. Personnel on
 leave and l berty are subject to this authority. .Misconduct will be cause for disciplinary action. You are subject to orders of your superior officers in all
              i

 branches of the Armed Forces.

 6. If necessary to request an extension of leave, communicate w th your commanding officer by telegram, telephone or letter IF NO REPLY IS
 RECEIVED YOU WILL CONSIDER YOUR REQUEST NOT GRANTED.

 7. In the event you encounter problems while on leave,       it   is recommended that you contact the nearest mi itary un t for assistance.
                                                                                                                                         i




 8. In case of serious llness of injury incurred while on leave which requires medica attention or hospita lization, report facts to your commanding officer be
                            i

 te legram and request instructions. You are advised that costs incident to hospitalization or med cal trea tment received at other than Navy, Army, A r Force,
                                                                                                                   i                                                         i

 or Public Health Service facilities, may be defrayed by the Marine Corps n emergency cases only No charge against your leave or red1.1::tion In total
                                                                                    i

 period of leave granted will be made for ariy period of hospital zaUon. Unless otherwise ordered, you will revert to a leave status upon re ease from a
 hosp tal, and will immediately notify your commanding officer that you have been re eased and have reentered leave status, giving leave address,
 preferably by telegram. Proof of hospital zaton must be prov ded upon return from leave. (NOTE: IF MARINE IS UNABLE TO CONTACT
 COMMANDING OFFICER DUE TO ILLNESS, ACCIDENT OR DEATH, NOTIFICATION OF THIS FACT SHOULD BE MADE TO THE NEAREST
 MARINE CORPS ACTIVITY BY PERSON FAMILIAR WITH THE SITUATION {Parents, spouse, phys cian, etc.)).                          i




 9. It is understood that this leave commences at your duty station and that it expires at your duty station. Also It is clearly understood that you are required
 to report for duty at our duty staton upon expiration of leave and that fa lure to do so may make you subject to disc pl nary act on under the Uniform Code
                                                                                i                                                            i

 of Military Just ce 1 O U.S.C. 801-940. If you are authorized to check out and check in by telephoning you are cautioned that commencement and
                  i

 term nation of leave must be made in the immediate vicinity of your duty stat on (place from which you normally commute daily to and from work). You are
     i

 directed to del ver your leave author zat on to your commanding officer or the des gnated representatve, al the commencement of the next regu lar working
                                            i                                                   i

 day subsequent to termination of your leave.




                                                                               FOR OFFICIAL USE ONLY
                                                                                                                                             ENCLOSURE (1)
                                                                                                                                                 Page 2 of 3
                                                                                                                                                             Enclosure (2)
      Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 9 of 40 Pageid#:
                                         1803

NAVMC 3 (REV. 03-1 1 ) (EF), Page 3
FOUO - Privacy sensitive when filled in.



                                                    PRIVACY ACT STATEMENT

    In accordance with the Privacy Act of 1974 (Public Law 93-579), this notice informs you of the purpose for collection of
    information on this form. Please read it before completing the form.



    AUTHORITY: 10 U.S.C. 5013, Secretary oftbe Navy; 1 0 U.S.C. 5041, Headquarters, Marine Corps; 10 U.S.C. 1074f, Medical
    Tracking System for Members Deployed Overseas; 32 CFR 64.4, M anagement and Mobilization; DoD Dir 1215.13, Reserve
    Component Member Participation Policy; DoD Instruction 3001.02, Personnel Accountability in Conjunction with Narural and
    Manmade Disasters; CJCSM 3150.13B, Joint Reporting Structure Persouuel Manual; DoD Instruction 6490.03, Deployment
    Health; MCMEDS: SECNAVJNST 1770.3D, Management and Disposition oflncapacitation Benefits for Members of the Navy
    and Marine Corps Reserve Components (Renamed Linc ofDuty(LOD)); and MCO 7220.50, Marine Corps Policy for paying
    Reserve Marines; and E.0. 9397 (SSN), as amended.

    PRINCIPAL PIJRPOSE To assemble in one system information to provide government agencies with: (I) Necessary
    information on the commercial travel and transportation payment and expense control system which provides travelers charge
    cards and the agency an account number for official travel and related travel expenses on a worldwide basis; (2) attendant
    operational and control support; and (3) management information reports for expense control purposes. The information
    collected on this form will be filed within a Privacy Act Systems of Records collection governed by Privacy Act System of
    Records Notice M01040-3, which can be downloaded at htjp://privacy.defense.gov/notices/11smc/M0J040-3.sbtml.

    RETENTION AND SAFEGUARDS: Login to systems and network requires use of the DoD Common Access Card (CAC).
    Public Key Infrastructure (PK.I) network login may be required to allow for documents to be digitally signed and encrypted and/
    or the receiving of encrypted mail. Official users without issuance ofa CAC must use the Total Force Administration System
    Marine On-Line (TFAS MOL) web portal to access the system. The TFAS MOL account holders are authenticated and provided
    access after registering for an account and use a user name and strong password login verification. Access to server r ooms is
    strictly controlled by the hosting facility personnel. At a minimum, cipher locks, access rosters, sign-in sign-out procedures,
    escort and supervision of all maintenance person nel and physical security checks are provided on a routine basis. Physical
    security of buildings after normal working hours, are provided b y independent security guards or military police
    ROUTINE USES: To various officials outside the Department ofDefense specifically identified as a Routine Use in Privacy
    Act System of Records Notice M01040-3 for the stated specific purpose in addition to those set out in the blanket routine uses
    established by the Department of Defense Privacy Office and posted at http://www.defenselittk.millprivacy/110tices/bla11ket-uses.
    html.

    DISCLOSURE: Providing infom1ation on this form is mandatory. Failure to furnish personally identifiable information may
    negate the application .




                                                             FOR OFFICIAL USE ONLY
                                                                                                        ENCLOSURE (1)
                                                                                                            Page 3 of3
                                                                                                                 Enclosure (2)
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 10 of 40 Pageid#:
                                    1804
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 11 of 40 Pageid#:
                                    1805
          Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 12 of 40 Pageid#:
                                              1806
LEAVE AUTHORIZATION (OFFICER AND ENLISTED) (1500)                                                                             BEFORE SIGNING LEAVE REQUEST,
                                                                                                                             READ INSTRUCTIONS ON PAGE 2 AND
                                                                                                                             PRIVACY ACT STATEMENT ON PAGE 3
NAVMC 3 (REV. 03-11) (EF) (Previous editions will not be used)
FOUO - Privacy sensitive when filled In.



  1. TO:           COMMANDING OFFICER:


                                                                                 LEAVE REQUEST
  2. FROM (Name, Grade, EDIPI, MOS)           MAJ                     13 95425 095                 3 . ORGANIZATION AND DUTY TELEPHONE NUMBER
                                                                                                   HQTRS MARFORSOC

  JOSHUA K. MAST                                                                       4402


  4. NUM BER OF DAYS REQUESTED AN O INCLUSIVE OATES                                                5. DATE & TIME LEAVE EFFECT VE                   6. DATE & TIME LEAVE EXPIRES


                                                       1                                                          1
                                                                                                                                                   1
  (8)20 Aug 2 021 - 27 Aug 2021                                                                    20 Aug 2021 ; 08 00                               23 Aug 2021, 1,00

  7. TYPE OF LEAVE REQUESTED                            8 . N O . OF DAYS TAKEN THIS FISCAL YEAR : ·                  9. LEAVE BALANCE                    O    ECC
  Emergency Leave                                       25.0                                                            .
                                                                                                                      23,0                               r
   11. ADDRESS 'M-IILE ON LEAVE (Incude telephone number and area code Ifany change notify your          12 . SIGNATURE OF PERSON REQUESTING LEAVE AND DATE: I w ll wear
  commanding officer)                                                                                   my seatbelt wh le dr ving or r ding In a PMV while in an authorized leave status
                                                                                                        (paragraph 14(d) of MCO 5 10 0. 1 9(E).
  A Ude d A r Base
  Doha, QA
  407 797 9359


               "EVERY MARINE RECRUIT A MARINE" MARINE CORPS ORDER 1050 . 1 AUTHORIZES A 5-DAY LEAVE EXTENSION OR SPECIAL LIBERTY CHIT TO
               MARINES ON LEAVE WHO RECRUIT AN ACCEPTABLE APPLICANT FOR ENLISTMENT IN THE MAR NE CORPS OR MARINE CORPS RESE�VE . CON­
                                               TACT THE MAR NE CORPS RECRUITER NEAREST YOU FOR DETAILS.

                                                     APPROVAL OF IMMEDIATE SUPERIOR/COMPANY COMMANDER
   13 .        APPROVED              REMARKS (If disapproved)                                                                    SIGNATURE AND GRADE
          []
          □     DISAPPROVED

   14.
          □    APPROVED              REMARKS (If disapproved)                                                                    SIGNATURE ANO GRADE



          □     DISAPPROVED

  1 5 . SIGNATURE (Offcer authorized to grant leave)                            • 16 . GRADE AND COMPONENT                   17. TITLE

                                                                          ..
  D gitally Signed/Approved b                                                    -LUSMC                                      BY DIRECT ON

                                                                      MCTFS REPORTING INFORMATION

                                      0800                  20 Aug 20 2 1 .                                                         1200                   23 Aug 2.021
  1 8 . Hour and date of departure                                                            19 . Hour and date of return

               JOSHUA K. MAST                                                                              JOSHUA K. MAST
                               (Signature ofDuty Officer/NCOl/ndiv)                                                             (Signature of Duty Officer/NCO/lndiv)

  20 . EXTENSIONS
                       Granted                 days extension of leave. Your leave will now expire at                                    on   --          ---
                   (Signature of Granting Officer)                                                             (Unit)                                                      (Dale)

                                                                               21. HOSPITALIZATION
  NAME AN D ADDRESS OF HOSPITAL                                                                                 T M E AND DATE ADMITTED                 TIME AND DATE RELEASED



  REMARKS/DIAGNOSIS




                                                                                              (Signature ofPhySJCJan)                                                   (Date)

                                                           22. UNIT DIARY COMPUTATION - INCLUSIVE DATES

  NO. OF DAYS CHARGED AS LEAVE                                        FROM                                              THRU

  UNIT DIARY NO.                                            UTR N O _______                      __


                                                                                     FOR OFFICIAL USE ONLY                                                       Adobe L111eCycie Des gner
                                                                                                                                                              Enclosure (4)
     Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 13 of 40 Pageid#:
                                         1807
NAVMC 3 ( REV. 03-11) (EF), Page 2
FOUO - Pr vacy sensitive when filled in.


    I,              _           _                                _ (Rank, Full Name), recognize the contribution I make to my fellow Mar nes,
            ___                    _____                ___
    Sailors. and Civilian Mar nes of                                                                                 (un it name), my brothers and
    sisters throughout the Marine Corps, and the Marines and Sailors deployed in defense of freedom around the wor d. Essentials to our mission, I
    pledge to maintain my commitment with a constant display of honor and professionalism. I will plan ahead, m ini mize risks to my saf;;!ly and
    return from leave prepared to continue "the fight."

                                                                                    (Signature of Marine)


    Authored by:




     I, -
         --------------                                   ---                       -
                                                                                       '-'- (Rank, Full Name), have confi rmed that
                                                              (the requesting Marine) has a11 acceptable plan for leave and fully understands the
          _ _   _- -_ _         _ :- ,..._     _ __      _- _    __ __ _
      a,l-uable contn""
           ,...:-   ,...
     v-                  tion every
                     ·b u...,         M a""'rtne ma...,.kes -
                                  ....,..                      am confiden t that he/she will take the nElcessary steps to minimize risks and br ng
                                                            to our nalion_
                                                                        -1
     honor to our Corps and country while enjoying this well deserved break from the �aily routine. I recommend approval.



                                                                             I            (Signature of first Marine in approval chain)
                                                                                                                                               I
                                                                             . l�STRUCflONS



1 . Leave is granted subject to Immediate recall; therefore, maintain commun ications with your leave address. KEEP THESE LEAVE PAPERS IN YOUR
POSSESSION AT ALL TIMES.                                            • ' •
                                                                                     :;

2. It Is understood you have sufficient funds to defray your expenses no leave, including round trip transportation. Each case of transportation obta ined
from recruiting stati ons, or oth er Marine Corps activ t es, by personnel on leave, will be i nvestigated and where no urgent necessity was apparent in
app y ng for transportat on request, disciplinary action may be taken.

 3. You are cautioned against the disclosure of any classified information. While ii Is desirable to tell the public about the Marine Corps, do not discuss any
 subject unless you are certain it is unc ass fied. In case you are askeq to participate in a press conference, talk to reporters or speak through any other
 medi a on matters pertaining to the Naval Serv ce, you should express a desire to cooperate, but should first consult with and obtain clea-ance from the
 nearest Marine Corps public informat on officer if at all practicable. . . • •

4. Inform you rself of transportation schedules, and make allowances for delays. Missing connections is not an excuse for UNAUTHORIZED ABSENCE.
Train, bus, and plane schedules and connections are frequently unreliable.

5. Cooperate wth shore patrol and mil tary police at all times.- Military police, shore patrols, air police, officers, petty officers, and noncommissioned
officers of the Armed Forces are authorized to take preventive measures, incuding apprehension, if necessary in the case of any member of the Armed
Forces who is guilty of committing a br�ach of the peace, gisorderly conduct, or any other offense which reflects discred it upon the se rvices. Personnel on
leave and liberty are subject to this authority. Misconduct will be cause for disciplinary action. You are subject to orders of your superor officers in all
branches of the Armed Forces.

6. If necessary to request an extensi on of leave, communi cate w th your commanding officer by telegram, telephone or letter. IF NO REPLY IS
RECEIVED YOU WILL CONSIDER YOlJR REQUEST NOT GRANTED.

7. In the event you encounter problems while on leave. it is recommended that you contact the nearest military unit for assistance.

8. In case of serious illness ofInjury Incurred while on leave which requires medical attention or hosp italizat on, report facts to your commanding officer be
telegram and request Instructions. You are a,;tvised tha t costs inc dent to hosp italizat on or medical treatment received at other than Navy, Army, Air Force,
or Public Health Servce facilities, may tie defrayed by the Marine Corps in emergency cases only. No charge against your leave or redvction in tota
period of leave granted will be made for any per od of hospital zat on. Unless otherwise ordered, you will revert to a leave status upon release from a
hosp ital, and will immed iately notify your commanding officer that you have been released and have reentered leave status, giving leave address,
preferably by telegrc!m. Proof of hospftalizalion must be provided upon return from leave. (NOTE: IF MARINE IS UNABLE TO CONTACT
COMMANDING OFFICER DUE TO ILLNESS, ACCIDENT OR DEATH, NOTIFICATION OF THIS FACT SHOULD BE MADE TO THE NEAREST
MARINE CORPS ACTIVITY BY PERSON FAMILIAR WITH THE SITUATION (Parents, spouse, physician, etc.)).

9. It is understood that this leave commences at your duty station and that it exp res at you r duty station. Aso it is clearly understood that you are required
to report for duiy at our duty station upon expiration of leave and that failure to do so may make you subject to disciplinary action under the Uniform Code
of Mil tary Justi� 10 U.S.C. 801-940. If you are authorized to check out and check in by telephoning you are cautioned that commencement and
terminati on of leave must be made n the immediate vicinity of your duty station (place from which you normally commute daily to and from work) You are
directed to del ver your leave authoriza tion to your commanding officer or the designated representative, at the commencement of the next regular working
day subsequent to termination of your leave.




                                                                             FOR OFFICIAL USE ONLY
                                                                                                                                          Enclosure (4)
      Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 14 of 40 Pageid#:
                                          1808

NAVMC 3 (REV. 03-11) (EF), Page 3
FOUO - Privacy sensitive when filled in.




                                                     PRIVACY ACT STATEMENT

     In accordance with the Privacy Act o f 1974 (Public Law 93 579), this notice informs you of the purpose for collection of
     information on this form. Please read it before completing the form.


     AUTHORITY: IO U.S.C. 5013, Secretary of the Navy; 10 U.S.C. 5041, Headquarters, Marine Corps; IO U.S.C. 1074f, Medical
     Tracking System for Members Deployed Overseas; 32 CFR 64.4, Management and Mobilization; DoD Dir 1215. 1 J, Reserve
     Component Member Participation Policy; DoD Instruction 3001 .02, Personnel Accountability in Conjunction with Natura and
     Manmade Disasters; CJCSM 3 150.138, Joint Reporting Structure Personnel Manual; DoD Tnstruction 6490.03, Deployment
     Health; MCMEDS: SECNA VINST I 770.3D, Management and Disposition ofTncapacitation Benefits for Members of the Navy
     and Marine Corps Reserve Components (Renamed Line of Duty(LOD)); and MCO 7220.50, Marine Corps Policy for paying
     Reserve Marines; and E.O. 9397 (SSN), as amended.

    PRINCIPAL PURPOSE To assemble in one system information to provide government agencies with: ( I ) 'ecessary
    information on the commercial travel and transportation payment and expense control system which provides travelers charge
    cards and the agency an account number for official travel aod related travel expenses on a worldwide basis; (2) attendant
    operational and control support; and (3) management information reports for expense control purposes. The information
    collected on this form will be filed within a Privacy Act Systems of Records collection governed by Privacy Act System of
    Records Notice M01040 3, which can be downloaded at http:/fprh acy.clefense.e;ov/notices/usmc/M0l 040-3.shtml.

      RETENTION AND SAFEGUARDS: Login to systems and network requires use of the DoD Common Access Card (CAC}.
      Public Key Infrastructure (PKI) network login may be required to allow for documents to be digitally signed and encrypted and/
      or the receiving of encrypted mail. Official users without issuance of a CAC must use the Total force Administration System
      Marine On-Line (TFAS MOL) web portal to access the system. The TFAS MOL account holders are authenticated and provided
      access after registering for an account and use a user name and strong password login verification. Access to server rooms is
      strictly controlled by the hosting facility personnel. At a minimum, cipher locks, access rosters, sign-in sign-out procedures,
    • escort and supervision of all maintenance personnel and physical security checks are provided on a routine basis. Physical
      security of buildings after normal working hours, are provided by independent security guards or military police
     ROUTINE USES: To various officials outside the Department of Defense specifically identified as a Routine Use in Privacy
     Act System of Records Notice 1\101040-3 for the stated specific purpose in addition to those set out in the blanket routine uses
     established by the Depa1tment of Defense Privacy Office and posted at http://www.defenselink.millprivacylnoticeslblanket-uses.
     html.

     DISCLOSURE: Providing information on this form is mandatory. Failure to furnish personally identifiable information may
     negate the application.




                                                              FOR OFFICIAL USE ONLY


                                                                                                                     Enclosure (4)
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 15 of 40 Pageid#:
                                    1809
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 16 of 40 Pageid#:
                                    1810
      Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 17 of 40 Pageid#:
                                          1811
NAVMC 3 ( REV. 03-11) (EF), Page 2
FOUO Privacy sensitive when filled in.


     I,                                                             (Rank, Full Name), recognize the contribution I make to my fellow Marines,
        _                  ____                           _
     Sa ilors, and Civil ian Marines of                                                                               (unit name), my brothers and
     sisters throughout the Mar ne Corps, and the Marines and Sai ors deployed in defense of freedom around the world. Essentials to our m ission, I
     pledge to maintain my commitment with a constant display of honor and professiona l sm. I will plan aheaci, minimize risks to my safety and
     return from leave prepared to continue "the fight."



                                                                                (Signature of Marine)


     Authored by:




     I,                                                                                     (Rank, Full Name), have confirmed that
          _           ___                     _____                   _______
                                           _                    (the requesting Marine) has an acceptable plan for leave and fully underst a,ds t he
      - _ _ -      - __ _     _       __ ____ -    _ _ __ _
     v-
      alua
         _ ble _
               contribuli
                        - n eve_
                         o-    ry M
                                  __rine makes-
                                   a-         -to our nation
                                                           _ . I am confident that he/she will take the necessary steps to minimize r sks ard bring
     honor to our Corps and country whi e enjoying this well deserved break from the 9aily routine. I 'ecommend approval.



                                                                      I               •(Signature of first Marine in approval chain)         I
                                                                          INSTRUCTIONS



 1 . Leave is granted subject to immed iate recall; therefore, maint ain' communi cationswith your leave address. KEEP THESE LEAVE PAPERS IN YOUR
 POSSESSION AT ALL TIMES                                                  .: ·:        . ,.

 2. It is understood you have sufficient funds to defray you r expenses no ieave, includ ing roundtrip transportation. Each case of transportation obtained
 from recruiting stations, or other Marine Corps activities, by personnel on leave, will be invest gated and where no urgent necessity was appa rent In
 applyi ng for transportation request. disc p i nary action may be taken.

3. You are cautioned against the disc osure of any classified Information. While it is desirable to tell the public about the Mar ne Corps, co not discuss any
subject unl ess you are certain it Is unclassified. In case you are asked to participate in a press conference, talk to reporters or speak through any other
media on matters pertain ing to the Naval Service, you should express a desire to cooperate, but should first consult w th and obtain clearance from the
nearest Marine Corps public nformation officer if at all pr�cucable.

 4. Inform yourse f of transportation schedules, and make allowances for delays. Missing connectons is not an excuse for UNAUTHORIZED ABSENCE.
 Train, bus, and p ane schedules and connect ons are frequently un reliable.
                                                                   •
 5. Cooperate with shore patrol and mi litary police at all times. M il tary police, shore patrols , air police, off cers, petty officers, and noncommissioned
 officers of the Armed Forces are authorized to take' preventive measures, Inc uding apprehension, if necessary in the case of any member of the Armed
 Forces who is guilty of committing a breach of the peace, disordery conduct, or any other offense which reflects discredit upon the servi ces. Personnel on
 leave and liberty are subject to th is authority. Misconduct will be cause for disciplinary action. You are subject to orders of your super or officers in all
 branches of the Armed Forces.

 6. If necessary to request an extens ion of leave, commun icate with your command ing off cer by telegram, telephone or letter. IF NO REPLY IS
 RECEIVED YOU WILL CONSIDER YOUR REQUEST NOT GRANTED.

 7. In the event you encounter problems while qn leave. it is recommended that you cont act the nearest military unit for assistance.

 8. In case of serious illness of. injury incu rred while on leave which requires medical attent on or hosp tallzatlon, report facts to your commanding officer be
 telegram and request instructions. You are advised that costs incident to hosp talization or medical treatment received at other than Navy, Army, Air Force,
 or Public Health Service facilities, may be defrayed by the Marine Corps in emergency cases only. No charge against your leave or reduction In tota l
 per od of leave granted w ll be made for any period of hospitalizat on. Unless otherwise ordered, you w ll revert to a leave status upon re ease from a
 hospita l, and wil l immed iately notify your commanding officer that you have been released and have reentered leave status, giving leave address,
 preferably by telegram. Proof of hospitalization must be provided upon retu rn from leave. (NOTE: IF MARINE IS UNABLE TO CONTACT
 COMMANDING OFFICER DUE TO ILLNESS, ACCIDENT OR DEATH, NOTIFICATION OF THIS FACT SHOULD BE MADE TO THE NEAREST
 MARINE CORPS ACTIVITY BY PERSON FAMILIAR WITH THE SITUATION (Parents, spouse, physician, etc.)).

 9. It is understood that this leave commences at your duty station and that it expires at your duty stat on. Also it is clearly understood that you are required
 to report for duty at our du ty station upon expiration of leave and that failure to do so may make you subject to disciplinary action under ti'e Un iform Code
 of Military Justice 10 u.s.c. so1-940. If you are authorzed to check out and check in by telephOning you are cautioned that commencement and
 termination of leave must be made In the immediate vicin ty ofyour duty stat on (place from which you normally commute daily to and from work). You are
 directed to deliver your leave authorization to your commanding officer or the designated representative, at the commencement of the next regular working
 day subsequent to termination of you r leave.




                                                                          FOR OFFICIAL USE ONLY
                                                                                                                                       Enclosure (6)
     Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 18 of 40 Pageid#:
                                         1812

NAVMC 3 (REV. 03 11) (EF), Page 3
FOUO - Prvacy sensit ve when filled in.




                                                     PRIVACY ACT STATEMENT

     In accordance with the Privacy Act of l974 (Public Law 93-579), this notice informs you ofthe purpose for collectio:i of
     information on this form. Please read it before completing the form.


     AUTHORITY: IO U.S.C. 5013, Secretary of the Navy; 10 U S.C. 5041, ffeadquarters, Marine Corps; I O U.S.C. 1074f, Medical
     Tracking System for Members Deployed Overseas; 32 CFR 64.4, Management and Mobilization; DoD Dir 12 J 5.13, Reserve
     Component Member Participation Policy; DoD fnstruction 3001 .02, Personnel Accountability in Conjunction with Natural and
     Manmade Disasters; CJCSM 3150. I 3B, Joint Reporting Structure Personnel Manual; DoD Tnstruction 6490.03, Deployment
     Health; MCMEDS: SECNAVINST 1770.3D, Management and Disposition of l ncapacitation Benefits for Members cf the Navy
     and Marine Corps Reserve Components (Renamed Line of Duty(LOD)); and MCO 7220.50, Marine Corps Policy for paying
     Reserve Marines; and E.0. 9397 (SSN), as amended.

     PRIN IPAL P RP SE To assemble in one system information to provide government agencies with: ( I ) Necessary
     information on the commercial travel and transpor1ation payment and expense control system which provides travelers charge
     cards and the agency an account number for official travel and related travel expenses on a worldwide basis; (2) attendant
     operational and control support; and (3) management information repo11S for expense control purposes. The information
     collected on this form will be filed within a Privacy Act Systems ofRecords collection governed by Privacy Act System of
     Records Notice M01040-3, which can be downloaded at httn;1LPJ'i.Yf�defens�.1filY/notices/usrnc/M0I040-3.shtml.

     RETENTION AND SAFEGUARDS: Login to systems and network requires use of the DoD Common Access Card (CAC).
     Public Key Infrastructure (PKI) network login may be required to allow for documents to be digitally signed and encrypted and/
     or the receiving of encrypted mail. Official users without issuance of a CAC must use the Total Force Administration System
     Marine On-Line (TFAS MOL) web portal to access the sy stem. The TFAS MOL account holders are authenticated and provided
     access after registering for an account and use a user name and strong password login verification. Access to server rooms is
     strictly controlled by the hosting facility personnel At a minimum, cipher locks, access rosters, sign-in sign-out procedures,
     escort and supervision of all maintenance personnel and physical security checks are provided on a routine bas is. Physical
     security of buildings after normal working hours, are provided by independent security guards or military police
     ROUTINE USES: To various officials outside the Department of Defense specifically identified as a Routine Use in Privacy
     Act System of Records Notice M0I 040-3 for the stated specific purpose in addition to those set out in the blanket roLtine uses
     established by the Department of Defense Privacy Office and posted at http://www.defenselink.mil/privacylnoticeslblanket-uses.
     html.

     DISCLOSURE: Providing infonnation on this form is mandatory. Failure to furnish personally identifiable information may
     negate the application.




                                                              FOR OFFICIAL USE ONLY


                                                                                                                   Encosure (6)
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 19 of 40 Pageid#:
                                    1813
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 20 of 40 Pageid#:
                                    1814
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 21 of 40 Pageid#:
                                    1815
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 22 of 40 Pageid#:
                                    1816
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 23 of 40 Pageid#:
                                    1817

   Subj: STATEMENT REGARDING CAPACITY DETERMlNATION ON OR ABOUT 29 AUGUST 2021

   groups to assist Afghans at risk of being murdered by the Taliban to get out of Afghanistan. As a result, efforts to help
   as many allies as possible continued around the clock until the Abbey Gate bombing occurred. These occurred via
   SOCCENT, and ad hoc effo11s with groups like Team America, No One Left Behind, The Pineapple Express,
   Concilium, and several veterans groups that had flown into Kabul from India and were voluntarily going behin:l Taliban
   lines and bringing people into Hl<IA.

        c. I informed the Pashtun man that bringing a DoD dependent to U.S. forces against the Taliban's orders -would
   likely meet the President's expanded category of"at risk Afghans," and asked him to disobey the Taliban, and bring
   �o U.S. forces and be evacuated along with his wife. Simultaneously, the interpreter that I was communicating to
   thePashtun through requested I assist his sister and two brothers (aged 15, 9, and I 7) get out of Afghanistan because the
   Taliban issued an edict that unmarried women aged 15-45 would be married to their fighters and taken to Waziristan.
   Both groups moved approximately 280 miles and 180 miles from the far south and far north of Afghanistan, th�ough
   Taliban lines, to an Air BnB we rented online west ofHKIA as a safe house.

        d. Once- movement was confirmed, I immediately requested emergency leave and permission to attempt to
   fly commercially into Kabul through India to ensure-the Pashtun couple, and my interpreters' siblings were pulled
   in to HK.IA and evacuated. At that time, my wife and I had all of- original documents in the United States,
   including-s DoD ID. My Commanding Officer approved my request, but as per enclosures (2) (3), after I secured a
   commercial route to Kabul, CENTCOM banned unofficial travel in the AO. However- was placed on a list of U.S.
   persons to be recovered.

      e. On 24 August 2021 . and everyone in her group was recovered from behind Taliban lines by a unit tasked with
   recovering U.S. persons during the evacuation.

   4. This begins the portion of the statement relevant to my capacity on 29 August 2021: �as evacuated through
   Doha, Qatar, to Ramstein, Germany, and then to the U.S. through Washington Dulles International Airport. Per
   enclosures (3)-(4 ), I was authorized emergency leave on 23 August 2021, which transitioned to regular leave from 24-
   30 August 2021 after. was safely out of Afghanistan and the emergency no longer existed. The time stamp on
   Enclosures (2) and (3) indicate emergency leave was verbally approved on 21 August 2021, and entered in MOL as of
   23 August. My wife and r flew to Ramstein Germany on or about 23 August, and returned on or about 26 August, 2021.

      a. Per enclosures (4)-(6), while I was on leave on Sunday, 29 August 2021, which would otherwise have been a
   normal liberty period, our daughter arrived at Washington Dulles International Airport from Ramstein, Germany on
   Delta Flight 8958 at approximately 1700. She was paroled into my physical custody in the U.S. later that day after hours
   of in processing with several thousand other evacuees. Enclosure (7).

      b. I escorted my daughter and everyone else in her group through customs screening. Many other civilians,
   including my interpreter and his U.S. citizen wife, were present in the same location and capacity that I was in
   escorting a minor relative that had been evacuated from HKIA. I, and everyone picking up someone who had l;een
   evacuated, w ere only permitted to be present because ofthat purpose

      c. At some point after. was paroled, a group of about 30-45 Afghans, including my daughter, were told we had
   finished in-processing, and just needed to get a covid test before being released. This was a pretext, and began the
   uncertainty that I described previously. I did not ask to go to the location in question, and was not asked if I was a
   United States Marine. I was not given an option to remain behind, and would have stayed with my daughter regardless. I
   was dressed in civilian clothes, and had no idea or expectation what would occur. What did occur was reported to my
   Command the next morning.

   5. At no point on 29 August did I believe or purport to act on behalf of the Marine Corps. I was located in a civilian
   international airport, and was obeying the directions of uniformed Customs and Border Patrol Agents, as was everyone
   else. I was dressed in civilian clothes, was present with other non-evacuee civilians, and was going through the same
   customs process everyone else went through. I did not believe I was being directed to do anything in my official
   capacity by the government, and did not file a travel claim as a result ofany of the expenses I incurred during the entire
   period. My wife accompanied me during the duration of my leave travel.

   6. Based on the day of the week, my leave authorization, my activities, the location, my civilian clothes, the fact that I
   could not go to Kabul because unofficial travel was banned, and all of the facts and circumstances; administratively, my

                                                               15

                                                                                                              Enclosure (8)
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 24 of 40 Pageid#:
                                    1818

   Subj : STATEMENT REGARDING CAPACITY DETERMINATION ON OR ABOUT 29 AUGUST 202 1

   status should be properly categorized by this command as acting in my unofficial, private capacity on Sunday, 29
   August 202 1 .

   7 . Because alleged Officer Misconduct i s potentially related to this determination, I request this investigation into my
   capacity on or about 29 August 202 1 be closed by COMARFORSOC.

   8. I am the point of contact for this matter.
                                                          MAST.JOSHUA.KE       Digitally signed by
                                                          NNETH . 1 39542509   MAST .JOSHUA KENNETH .1395
                                                                               425095
                                                          5                    Date: 2022 08 1 0 07:1 D:29 -04'00'



                                                                      J. K. MAST




                                                                15

                                                                                                                     Enclosure (8)
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 25 of 40 Pageid#:
                                    1819
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 26 of 40 Pageid#:
                                    1820
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 27 of 40 Pageid#:
                                    1821
    Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 28 of 40 Pageid#:
                                        1822
8• COM              Making travel better                                                        BOOKING NUMBER 1 6 3 7 9 5 7 9 7


 Standard Ticket     Plus Services

Washington, D.C. -+ Kabul
OUTBOUND                                                                                                           Total duration: 4d 6h 10m




                            I
                   23:05        IAD Washington, D.C., United States                                                                + II
        Sat, 21 Aug 2021        Washington Dulles International, Terminal MAIN                                     Carrier: Qatar Airways
                                                                                                                         Flight no: QR710
                   19:00        DOH Doha, Qatar                                                                        Duration: 12h 55m
                                Hamad International, Terminal 1




                            I
                                 A 18h 25m layover not protected by the Kiwi.com Guarantee


                   13:25        DOH Doha, Qatar                                                                                    +a
                                                                                                                   Carrier: Qatar Airways
       Mon, 23 Aug 2021         Hamad International, Terminal 1
                                                                                                                        Flight no: QR570
                   20:00        DEL New Delhi, India                                                                     DJration: 4h 5m
                                Indira Gandhi International, Terminal 3


                                 A 2d 16h 35m layover not protected by the Kiwi.com Guarantee




                           I
                                 A The next part of your lrip departs from a different terminal


                   12:35        DEL New Delhi, India                                                                               +    ...
       Thu, 26 Aug 2021         Indira Gandhi International                                                      Carrier: Air India Limited
                                                                                                                          Flight no: Al243
                   13:45        KBL Kabul, Afghanistan                                                                  Duration: 2h 10m
                                Hamid Karzai International


All times are local. We strongly recommend arriving at the airport at least 2 hours before your scheduled departure.
Terminals can change without prior notice. We are not responsible for informing you about such changes.


  Check your visa requirements
  Not sure if you need a visa? Check this guide: go.kiwi.com/visas. Kiwi.com 1s not responsible for any visa issue, including airport
  transit visas; this is the responsibility of the passenger. Without the correct documents, you might not be allowed to board.




                                                   Page 1/5 - last updated on 24 Aug 2021
                                                                                                          ENCLOSURE {2)            Enclosure (8)

                                                                                                              Page 1 of 1
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 29 of 40 Pageid#:
                                    1823
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 30 of 40 Pageid#:
                                    1824
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 31 of 40 Pageid#:
                                    1825
     Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 32 of 40 Pageid#:
                                         1826

NAVMC 3 (REV. 03-11) (EF), Page 3
FOUO - Privacy sensitive when filled in.




                                                     PRIVACY ACT STATEMENT

     In accordance with the Privacy Act of 1974 (Public Law 93-579), this notice informs you of the pu1pose for collection of
     information on this form. Please read it before completing the form.


    AUTHORITY: 1 0 U.S.C. 5013, Secretary of the Navy; I O U.S.C. 5041, Headquarters, Marine Corps; l 0 U.S.C. 1074f, Medical
    Tracking System for Members Deployed Overseas; 32 CFR 64.4, Management and Mobilization; DoD Dir 1215.13, Reserve
    Component Member Participation Policy; DoD Instruction 3001.02, Personnel Accountability in Conjunction with Natural and
    Manmade Disasters; CJCSM 3150.13B, Joint Reporting Structure Personnel Manual; DoD Instruction 6490.03, Deployment
    Health; MCMEDS: SECNAVINST 1770.3D, Management and Disposition of Incapacitation Benefits for Members of the Navy
    and Marine Corps Reserve Components (Renamed Line ofDuty(LOD)); and MCO 7220.50, Marine Corps Policy for paying
    Reserve Marines; and E.O. 9397 (SSN), as amended.

    PRINCIPAL PURPOSE To assemble in one system information to provide government agencies with: (1) Necessary
    infonnation on the commercial travel and transportation payment and expense control system which provides travelers charge
    cards and the agency an account number for official travel and related travel expenses on a worldwide basis; (2) attendant
    operational and control support; and (3) management information reports for expense control purposes. The information
    collected on this form will be filed within a Privacy Act Systems of Records collection governed by Privacy Act System of
    Records Notice M01040-3, which can be downloaded at http..:LlpriY.a.cy.defens.e_._goYlnoticeslu.sm.cLM01040-3.shtml

    .RETENTION AND SAFEGUARDS: Login to systems and network requires use of the DoD Common Access Card (CAC).
    Public Key Infrastructure (PK!) network login may be required to allow for documents to be digitally signed and encrypted and/
    or the receiving of encrypted mail. Official users without issuance of a CAC must use the Total Force Administration System

    access after registering for an account and use a user name and strong password login verification. Access to server rooms i s
    Marine On Line (TFAS MOL) web portal to access the system. The TFAS MOL account holders are authenticated and provided

    strictly controlled b y the hosting facility pexsonnel. A t a minimum, cipher locks, access rosters, sign in sign out procedures,
    escort and supervision of all maintenance personnel and physical security checks are provided on a routine basis. Physical
    security of buildings after normal working hours, are provided by independent security guards or military police
    ROUTINE USES: To various officials outside the Department ofDefense specifically identified as a Routine Use in Privacy
    Act System of Records Notice M01040-3 for the stated specific purpose in addition to those set out in the blanket routine uses
    established by the Department of Defense Privacy Office and posted at littp:l/www.defenselink.mil/privacylnoticeslblanket-uses.
    html.

    DISCLOSURE: Providing infonnation on this form is mandatory. Failure to furnish personally identifiable information may
    negate the application.




                                                             FOR OFFICIAL USE ONLY
                                                                                                        ENCLOSURE (4)
                                                                                                            Page 3 of3
                                                                                                                   Enclosure (8)
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 33 of 40 Pageid#:
                                    1827
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 34 of 40 Pageid#:
                                    1828
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 35 of 40 Pageid#:
                                    1829
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 36 of 40 Pageid#:
                                    1830
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 37 of 40 Pageid#:
                                    1831
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 38 of 40 Pageid#:
                                    1832
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 39 of 40 Pageid#:
                                    1833
Case 3:22-cv-00049-NKM-JCH Document 171-9 Filed 02/27/23 Page 40 of 40 Pageid#:
                                    1834
